                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN

In Re:

JOSEPH DuMOUCHELLE FINE                       Case No. 19-56239
& ESTATE JEWELLERS, L.L.C.                    Chapter 7
                                              Hon. Phillip J. Shefferly
         Debtor

__________________________/

                    STIPULATION FOR ENTRY OF ORDER
                    FOR TURNOVER OF KROIS' JEWELRY

        Dina Krois (“Movant”) filed her Motion for Entry of Order Directing Trustee

to Deliver Krois Jewelry [Dk. No. 142] (the “Motion”). Mark Shapiro, Chapter 7

Trustee (“Trustee”), reached out to counsel for Ms. Krois and lodged one or more

informal objections to the Motion and the proposed order attached to the Motion.

In resolution of the Trustee’s informal objections, Movant and Trustee, as

evidenced by the signatures of their counsel below, hereby stipulate and agree to

entry of the Order Granting Stipulation for entry of Order for Turnover of Krois

Jewelry which is attached hereto as Exhibit A.




                              (Signatures on Next Page)




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 SCHAFER AND WEINER, PLLC                   LEONE LAW ASSOCIATES PLLC


 By: / s/ Kim Hillary          .            By: / s/ John Fordell Leone          .
 KIM HILLARY (P67534)                       John Fordell Leone (P38938)
 Counsel for Mark Shapiro,                  Counsel for Dina Krois
  Chapter 7 Trustee                         301 M.A.C. Avenue
 40950 Woodward Ave., Ste. 100              East Lansing, MI 48823
 Bloomfield Hills, MI 48304                 517-701-2000
 248-540-3340                               John@LeoneLawAssociates.com
 khillary@schaferandweiner.com


Dated: August 11, 2020




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                 EXHIBIT A




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In Re:

JOSEPH DuMOUCHELLE FINE                           Case No. 19-56239
& ESTATE JEWELLERS, L.L.C.                        Chapter 7
                                                  Hon. Phillip J. Shefferly
         Debtor

__________________________/

          ORDER GRANTING STIPULATION FOR ENTRY OF ORDER
                 FOR TURNOVER OF KROIS' JEWELRY

               This Matter having been brought before the Court on the Dina Krois’

  Motion for Entry of Order Directing Trustee to Deliver Krois Jewelry [Dk. No.

  142], and on the subsequently filed Stipulation for Entry of Order for Turnover of

  Krois Jewelry [Dk. No. ___], and the Court being otherwise fully advised in the

  premises;

         IT IS HEREBY ORDERED that Trustee, Mark H. Shapiro, shall turnover

  the 19 Jewelry Items listed as unsold on the DuMouchelle Settlement Statement

  (Motion, Exhibit B) and further identified by the photographs and additional

  descriptions attached as Exhibits C-H to the Motion and which are in his

  possession (the “Jewelry”) to Ms. Krois free and clear of any claim to or interest

  of this bankruptcy estate.

         IT IS FURTHER ORDERED that Ms. Krois shall be entitled to retrieve

  the Jewelry from Mr. Shapiro at such date and time as is reasonably agreed to


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  between Ms. Krois and Mr. Shapiro.

         IT IS FURTHER ORDERED that neither the Trustee nor this bankruptcy

  estate has any right or claim to the Jewelry.

         IT IS FURTHER ORDERED that entry of this Order shall not be deemed

  to be a ruling as to whether the Debtor meets, or fails to meet, the standard set

  forth in MCL 440.9102(t)(i).




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